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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION


    CESAR DOMINGUES,

            Petitioner,

    v.                                                              CASE NO. 8:03-CV-2497-T-30-MSS
                                                                            8:00-CR-117-T-30MSS
    UNITED STATES OF AMERICA,

         Respondent.
    ______________________________/

                                                    ORDER

            Before the Court is a letter dated May 13, 2005, addressed to the Clerk of the Court

    (CV Dkt. 9). In the letter, Petitioner states that he does not have a copy of Respondent’s

    response to his § 2255 motion.1

            On April 20, 2005, Petitioner was ordered to file his reply, if any, to the response

    within thirty days thereof. See Rule 5(d), Rules Governing Section 2255 Proceedings for

    the United States District Courts (2004). In his letter, Petitioner asks the Clerk to send him

    a copy of the response and grant him an additional thirty days to respond thereto. The

    Clerk generally serves in a ministerial capacity for the district courts, and may not exercise

    judicial power except by constitutional or legislative provision, and then only in accordance

    with the strict language of the provision.




            1
               Respondent filed a response to the § 2255 motion on December 30, 2003 (CV Dkt. 4). According to
    the certificate of service, Respondent mailed a copy of the response to Petitioner at his address of record on
    the date it was filed with the Clerk (CV Dkt. 4 at 11). See Konst v. Florida East Coast Ry. Co., 71 F.3d 850,
    851 -852 (11th Cir. 1996) ("The common law has long recognized a rebuttable presumption that an item
    properly mailed was received by the addressee") (citing Nunley v. City of Los Angeles, 52 F.3d 792, 796 (9th
    Cir. 1995)). Petitioner does not assert that Respondent failed to provide him a copy of the response.
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            Petitioner is cautioned that he should not correspond with the Clerk, the Court, or

    a judge in letter form. See Local Rule 3.01(f) (M.D. Fla. 2004).2 Judges will not, as a

    matter of policy, respond to personal correspondence when it pertains to a pending case.

    This policy is in keeping with their sworn duty to maintain complete impartiality in the

    exercise of their judicial duties. Accordingly, their decisions and opinions are, quite

    properly, only delivered in response to those legal instruments filed with the Clerk's office

    in accordance with governing rules of procedure. The Court will strike any correspondence

    addressed directly to the clerk, the court or a judge. To correspond with the Court,

    Petitioner should file a pleading or motion captioned with the name of the court, the case

    number, the names of the parties, and a title in a format substantially like the caption on the

    motion for an extension of time Petitioner filed on February 10, 2005 (CV Dkt. 6).

            In the December 4, 2003 order directing Respondent to file a response to

    Petitioner’s motion, he was cautioned as follows:

            Henceforth, Petitioner shall mail one copy of every pleading, exhibit and/or
            correspondence, along with a certificate of service indicating the date an
            accurate copy was mailed, to the Government office listed in the bottom of
            this Order. Should Petitioner fail to include the required certificate of
            service with any document that he submits for filing in the Court
            record, the Clerk of this Court is directed to reject the document.

    CV Dkt. 3 at 3. The order was mailed to Petitioner at his address of record, and it has not

    been returned to the Clerk marked “undeliverable.” Petitioner did not file a certificate of

    service with the letter presently before the Court.

            2
              "All applications to the Court (i) requesting relief in any form, or (ii) citing authorities or presenting
    argument with respect to any matter awaiting decision, shall be made in writing (except as provided in Rule
    7(b) of the Federal Rules of Civil Procedure) in accordance with this rule and in appropriate form pursuant to
    Rule 1.05; and, unless invited or directed by the presiding judge, shall not be addressed or presented to the
    Court in the form of a letter or the like. All pleadings and papers to be filed shall be filed with the Clerk of the
    Court and not with the judge thereof, except as provided by Rule 1.03(c) of these Rules." Local Rule 3.01(f)
    (M.D. Fla. 2004).

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             Petitioner's reply to the response was due on or before May 20, 2005, see CV Dkt.

    8. Given the content of the unauthorized correspondence, Petitioner does not have a copy

    of Respondent's response. In the interests of judicial economy, the Court will direct the

    Clerk to provide Petitioner a copy thereof.

             ACCORDINGLY, the Court ORDERS that Petitioner’s requests are GRANTED (CV

    Dkt. 9), as set forth below:

             1.    The Clerk shall enclose a copy of Respondent’s December 31, 2003

                   response (CV Dkt. 4) with Petitioner’s copy of this order.

             2.    Petitioner shall have THIRTY (30) DAYS from the date of this order to file his

                   reply. Extensions of time will not be routinely granted.

             DONE and ORDERED in Tampa, Florida on May 24, 2005.




    Copies furnished to:
    All Parties/Counsel of Record

    SA:jsh




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